                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              WESTERN DIVISION

  ANTHONY NUNES, JR., ANTHONY                            No. 20-cv-4003-CJW
  NUNES, III, and NUSTAR FARMS,
  LLC,                                                ORDER REGARDING
                                                    DEFENDANTS’ MOTION
            Plaintiffs,                            TO COMPEL THIRD-PARTY
                                                     FUNDING DISCOVERY
                                                         REQUESTS
  vs.
  RYAN LIZZA and HEARST
  MAGAZINE MEDIA, INC.,
                  Defendants.
                                 ____________________

        Before me is Defendants’ Resisted Motion to Compel Responses to Third-Party
Litigation Funding Discovery Requests, filed on August 23, 2021. (Doc. 147.) Plaintiffs
filed a timely resistance. (Doc. 153.) Defendants filed a reply. (Doc. 157.) On
September 14, 2021, I held a telephonic hearing and heard arguments from the parties.
(Doc. 161.)
                                 I.     BACKGROUND
        Plaintiffs operate a dairy in northwest Iowa. The individual Plaintiffs are close
family members of prominent United States Congressman Devin Nunes. The claims
arise out of an alleged defamatory article written and published by Defendants. The only
remaining allegation is that Defendants defamed Plaintiffs because the article accused
them of knowingly employing undocumented laborers. (Doc. 50.)




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       Defendants seek to obtain information about third parties whom they believe are
funding this case for Plaintiffs. Specifically, Defendants have propounded request for
production no. 92 that seeks:
       Documents sufficient to show the person or persons who, or entity or
       entities that, are funding Plaintiffs’ prosecution of this action, including but
       not limited to the person or persons who, or entity of entities that, are
       paying Mr. Biss’s and/or Mr. Feller’s legal fees.

(Doc. 148 at 2.)1 Plaintiffs’ response to the request merely objected on relevance
grounds. Defendants point to evidence that Plaintiffs are not, in fact, paying for the instant
litigation. That is, they have not incurred out-of-pocket expenses and have made only a
minimal payment to local counsel. Plaintiff NuStar’s Rule 30(b)(6) designee, Anthony
Nunes III admitted having no idea who was paying Plaintiffs’ lawyers.
       Congressman Nunes is closely related to the individual Plaintiffs and has a history
of litigation against media defendants, including a lawsuit in this Court about this same
story. Nunes v. Lizza et al, 19-CV-4064.2
                                    II.     DISCUSSION
A.     The Parties’ Contentions
       If the instant lawsuit is controlled by “wealthy private donors,” perhaps related to
the Congressman, Defendants contend this raises significant constitutional concerns.
First, Defendants generally are concerned about the “chilling effect” of financing
defamation cases. Second, more specifically, Defendants raise the specter of private



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  Defendants failed to attach to their motion a copy of the disputed request and response as
required by LR 37(b). However, because they quoted the single disputed request and the
response in their entirety, the omission is harmless. Defendants are adjured to comply with the
local rules.
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  Congressman Nunes’s lawsuit was dismissed by this Court but revived by the Eighth Circuit
Court of Appeals. As of the date of this order, mandate has not issued and a petition for en banc
review remains pending.


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figures pursuing “tandem libel cases” at the behest of a public figure and avoiding the
protections offered to media defendants by the requirement of proving actual malice.
Defendants also contend that evidence of third-party funding of Plaintiffs’ lawsuit will be
relevant to whether Plaintiffs should be considered “involuntary limited purpose public
figures,” an argument Defendants have previously raised. (Doc. 37 at 38-41.) If they are
public figures, Plaintiffs would have to show actual malice – something Defendants claim
they cannot show. Defendants argue the information is relevant to Plaintiffs’ standing.
Defendants contend information about funding of the litigation will show if Plaintiffs’
case is a “mere surrogate” for Congressman Nunes’s case, which was recently revived
by the Eighth Circuit Court of Appeals. Defendants argue they need information about
third-party funding to determine whether Plaintiffs are the parties who will benefit from
the case, or if the true beneficiary is Congressmen Nunes, who Defendants believe seeks
to further an agenda of intimidating media outlets.
       Defendants also contend that they are entitled to the discovery to ascertain if
Plaintiffs are the real party in interest as required by Federal Rule of Civil Procedure
17(a). Defendants raise similar concerns about disclosures for conflicts purposes under
Rule 7.1. Defendants also contend information about third-party litigation funding would
rebut Plaintiffs’ narrative of a large media corporation prying into the lives of small-town
farmers.
       Much of Plaintiffs’ resistance is taken up with allegations about Defendants’
disclosure of materials designated as “Counsel’s Eyes Only” discovery materials. Those
allegations are more properly taken up by the Court in response to Plaintiffs’ Motion for
Sanctions. (Doc. 155.) Plaintiffs’ resistance points to media coverage of the disclosure
and describes Defendants’ “obsession” with uncovering the source of funding. (Doc.
153 at 5.) Plaintiffs note my comments during a January 2021 status conference where
I questioned the relevance of the source of funding. In contrast, Plaintiffs’ resistance is



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extraordinarily light on legal reasoning that might support Plaintiffs’ objection. I presume
from Plaintiffs’ discussion of relevancy that relevance figures in their objections. But
nowhere in their resistance do they expressly assert the funding sources are irrelevant,
much less engage with the issue. Plaintiffs do not object that disclosure of their funding
sources would interfere with their First Amendment right of association or invade the
attorney-client privilege. See Conlon v. Rosa, Nos. 295907, 295932, 2004 WL 1627337,
at *3 (Mass. Land Ct. July 21, 2004) (citing NAACP v. Alabama, 357 U.S. 449, 462
(1958)).
       To the extent Plaintiffs engage with the issue presented, Plaintiffs simply make
bald denials such as, “There has been no ‘coordination’ between Plaintiffs and Devin
Nunes regarding the lawsuit,” “Devin Nunes does not have a ‘policy to sue media
outlets,’” and “The Plaintiffs are private individuals.” (Doc. 153 at 8.) They argue that
Defendants are merely speculating about the involvement of third-party funding. (Id. at
9.)    However, while Plaintiffs are adamant in their assertions that they are not
coordinating their respective lawsuits with Congressman Nunes, they do not deny the
existence of third-party funding.
B.     Standards
       Rule 26(b)(1) of the Federal Rules of Civil Procedure provides:
       Unless otherwise limited by court order, the scope of discovery is as
       follows: Parties may obtain discovery regarding any nonprivileged matter
       that is relevant to any party’s claim or defense and proportional to the needs
       of the case, considering the importance of the issues at stake in the action,
       the amount in controversy, the parties’ relative access to relevant
       information, the parties’ resources, the importance of the discovery in
       resolving the issues, and whether the burden or expense of the proposed
       discovery outweighs its likely benefit. Information within this scope of
       discovery need not be admissible in evidence to be discoverable.




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       Rule 34(a) provides for discovery by production requests “within the scope of
Rule 26(b).” A party may obtain, as of right, discovery “relevant to any party’s claim
or defense.” 8 Charles Alan Wright & Arthur R. Miller, Federal Practice & Procedure
§ 2008 (3d ed. 2010). As this Court has previously stated:
              The Federal Rules of Civil Procedure authorize broad discovery. See
       Fed. R. Civ. P. 26(b)(1) (“Parties may obtain discovery regarding any
       nonprivileged matter that is relevant to any party’s claim or defense.”).
       “Discovery Rules are to be broadly and liberally construed in order to fulfill
       discovery’s purposes of providing both parties with ‘information essential
       to the proper litigation of all relevant facts, to eliminate surprise, and to
       promote settlement.’” Marook v. State Farm Mut. Auto. Ins. Co., 259
       F.R.D. 388, 394 (N.D. Iowa 2009) (quoting Rolscreen Co. v. Pella Prods.,
       145 F.R.D. 92, 94 (S.D. Iowa 1992)).

              The scope of permissible discovery is broader than the scope of
       admissibility. See, e.g., Hofer v. Mack Trucks, Inc., 981 F.2d 377, 380
       (8th Cir.1992). Discovery requests are typically deemed relevant if there is
       any possibility that the information sought is relevant to any issue in the
       case. Penford Corp. v. National Union Fire Ins. Co., 265 F.R.D. 430,
       434–35 (N.D. Iowa 2009) (citing Davis v. Union Pacific R.R. Co., No.
       4:07CV00521 BSM, 2008 WL 3992761 (E.D. Ark. Aug. 26, 2008)).
       Nonetheless, there must be at least a “threshold showing of relevance”
       before parties “are required to open wide the doors of discovery and to
       produce a variety of information which does not reasonably bear upon the
       issues in the case.” Hofer, 981 F.2d at 380. The party resisting production
       of requested information bears the burden of establishing the lack of
       relevancy, unless that lack of relevancy is obvious. Marook, 259 F.R.D. at
       394–95.

Kampfe v. Petsmart, Inc., 304 F.R.D. 554, 557 (N.D. Iowa 2015). Here, as in Kampfe,
the issue is whether “there is any possibility that the information sought is relevant to any
issue in the case.” Id. (citing Penford, 265 F.R.D. at 434–35).
       Discovery must also be
       proportional to the needs of the case, considering the importance of the
       issues at stake in the action, the amount in controversy, the parties’ relative


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       access to relevant information, the parties’ resources, the importance of the
       discovery in resolving the issues, and whether the burden or expense of the
       proposed discovery out-weighs its likely benefit.

Fed. R. Civ. P. 26(b)(1). “The parties and the court have a collective responsibility to
consider the proportionality of all discovery and consider it in resolving discovery
disputes.” Fed. R. Civ. P. 26(b)(1) advisory committee’s note to 2015 amendment.
C.     Analysis
              The discovery sought is proportional to the needs of the case.
       Plaintiffs have not objected that the discovery is disproportional to the needs of
the case. Any concern regarding the proportionality of the discovery is easily disposed
of. At the hearing, Plaintiffs’ counsel represented that Plaintiffs response to the request,
if compelled, would consist of approximately four pages. Thus, it seems that the response
would be quite readily made without any burden.
              The discovery is relevant.
       The relevancy analysis is somewhat more complex. Although Plaintiffs emphasize
that the funding of the litigation is irrelevant to their defamation claim, the scope of
discovery is not limited to that claim but extends to Defendants’ own “claim[s] and
defense[s].” Rule 26(b)(1). Fulton v. Foley addressed the relevancy of litigation funding
in the context of a claim for wrongful arrest and conviction. 17-CV-8696, 2019 WL
6609298, at *1 (N.D. Ill. Dec. 5, 2019).         Fulton commenced its analysis with an
observation consistent with my initial reaction expressed to the parties in a January 21,
2021 status conference: “As a general matter, courts across the country that have
addressed the issue have held that litigation funding information is generally irrelevant to
proving the claims and defenses in a case.” Id. at *2. Fulton then helpfully compiled a
collection of cases that have addressed discovery of litigation funding: In re Valsartan N-
Nitrosodimethylamine (NDMA) Contamination Products Liab. Litig., 405 F. Supp. 3d




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612 (D.N.J. 2019) (multidistrict litigation regarding contaminated medication); Benitez
v. Lopez, 17-CV-3827-SJ-SJB, 2019 WL 1578167, at *1 (E.D.N.Y. Mar. 14, 2019)
(civil rights lawsuit); Miller UK Ltd. v. Caterpillar, Inc., 17 F. Supp. 3d 711 (N.D. Ill.
2014) (misappropriation of trade secrets); Kaplan v. S.A.C. Cap. Advisors, L.P., 12-CV-
9350 (VM) (KNF), 2015 WL 5730101, at *2 (S.D.N.Y. Sept. 10, 2015) (class action);
Space Data Corp. v. Google LLC, 16-CV-03260 BLF (NC), 2018 WL 3054797, at *1
(N.D. Cal. June 11, 2018) (nature of underlying dispute not disclosed in ruling); MLC
Intell. Prop., LLC v. Micron Tech., Inc., 14-CV-03657-SI, 2019 WL 118595, at *1
(N.D. Cal. Jan. 7, 2019) (patent dispute); Yousefi v. Delta Elec. Motors, Inc., C13-
1632RSL, 2015 WL 11217257, at *2 (W.D. Wash. May 11, 2015) (nature of underlying
dispute not disclosed in ruling).
       There is much that is interesting and helpful about the analysis in the cases Fulton
cites, but none of them is on all fours with the case at bar. Unsurprisingly, none involves
a dispute between a prominent U.S. Congressman and a media conglomerate engaged in
a highly-publicized and contentious defamation case. Nevertheless, as Fulton observed,
“discovery issues are generally case-specific and deserve individual consideration that
require courts to balance the concerns of relevancy and proportionality.” 2019 WL
6609298, at *2. Expanding on Fulton’s analysis, V5 Techs. v. Switch, Ltd. reasoned as
follows:
       Nonetheless, there is no bright-line prohibition on such discovery.
       Discovery into litigation funding is appropriate when there is a sufficient
       factual showing of “something untoward” occurring in the case; “[f]or
       example, discovery will be [o]rdered where there is a sufficient showing
       that a non-party is making ultimate litigation or settlement decisions, the
       interests of plaintiffs or the class are sacrificed or not being protected, or
       conflicts of interest exist.” Mere speculation by the party seeking this
       discovery will not suffice. Courts will compel discovery into funding
       sources only upon the presentation of “some objective evidence” that the
       discovering party’s “theories of relevance are more than just theories.”



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334 F.R.D., 306, 311–12 (D. Nev. 2019) (internal citations omitted), aff’d sub nom. V5
Techs., LLC v. Switch, LTD., 2:17-CV-2349-KJD-NJK, 2:17-CV-2349-KJD-NJK, 2020
WL 1042515 (D. Nev. Mar. 3, 2020). I conclude that V5 Techs provides a useful
framework for this analysis.
       In the case at bar, I find there is more than speculation or mere theory regarding
the relevance of third-party funding. First, Plaintiffs have not denied that the litigation
is being funded by others. Second, Plaintiffs have only incurred $500 in charges during
this protracted litigation. Third, Anthony Nunes III, an individual Plaintiff and the
corporate representative has “no idea” who is paying the lawyers representing Plaintiffs.
These circumstances may not ultimately turn out to be “untoward,” but they are certainly
unusual. Moreover, these circumstances lift the basis for Defendants’ inquiry above the
level of mere speculation and raise legitimate subjects for inquiry not present in a more
run-of-the-mill personal injury case or commercial dispute.          The instant case is
distinguishable from a case like Benitez where the defendant seeking litigation funding
information could not point out how it might affect the plaintiff’s credibility or be used
for impeachment. 2019 WL 1578167, at *1.
       As Defendants point out, a crucial and often determinative issue in a defamation
case is whether a plaintiff needs to prove actual malice. (Doc. 148 at 5.) This Court has
expressed doubt about the viability of a theory of defense based on the Plaintiffs’ status
as involuntary public figures. (Doc. 50 at 35.) Nevertheless, the unusual facts presented
here make Defendants’ inquiry into litigation funding a legitimate subject for discovery
to enable them to make the argument on a full record.
       Similarly, the Plaintiffs’ relationship to Congressman Nunes is an important factor
in permitting the discovery. Congressman Nunes has engaged in considerable defamation
litigation with the assistance of the same attorney employed by Plaintiffs in the instant



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action. I offer no criticism of any party’s use of the courts to vigorously protect their
interests. Nevertheless, Congressman Nunes is clearly a public figure who would be
required to prove actual malice. The requirement of actual malice was adopted by the
United States Supreme Court because “[i]t would give public servants an unjustified
preference over the public they serve, if critics of official conduct did not have a fair
equivalent of the immunity granted to the officials themselves.” New York Times v.
Sullivan, 376 U.S. 254, 282-83 (1964.)            It may turn out that there has been no
coordination between the Congressman and his family, as Plaintiffs assert. However,
Defendants inquiry into third-party funding serves the legitimate purpose of determining
whether such coordination exists. In light of the important constitutional protections that
proof of actual malice provides, it is not a significant imposition to require Plaintiffs to
provide discovery that would prove or dispel the notion that a third party is using the
instant case to avoid a significant hurdle to a defamation claim. Given the close family
relationship, the other defamation litigation Congressman Nunes has pursued in his own
name with the help of the same attorney, and the Plaintiffs’ lack of knowledge of who is
paying their lawyers, the inquiry is not founded on mere speculation.
       These circumstances also justify discovery of third-party funding based on the
other reasons advanced by Defendants. Plaintiffs filed a Financial Interest Disclosure
Statement that provides:
               Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and
       Local Civil Rule 7.1(a) of the United States District Court for the Northern
       District of Iowa and to enable Judges and Magistrate Judges to evaluate
       possible disqualification or recusal, the undersigned counsel for Plaintiff,
       NuStar Farms, LLC (“NuStar”), in the above captioned action, certifies
       that there are no associations, firms, partnerships, corporations, and other
       artificial entities that either are related to NuStar as a parent, subsidiary, or
       otherwise, or have a direct or indirect pecuniary interest in the Plaintiffs’
       outcome in the case. There are no parents, trusts, subsidiaries and/or
       affiliates of NuStar that have issued shares or debt securities to the public.



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(Doc. 3 at 1.) I will not engage in speculation about what arrangements Plaintiffs may
have made to finance their lawsuit, if any. However, Anthony Nunes III professed lack
of knowledge about who is paying Plaintiffs’ lawyers at least raises the possibility that an
undisclosed entity related to NuStar has a pecuniary interest in the outcome of the case
that would be pertinent to the Court’s assessment of conflicts.
       Additionally, an action must be prosecuted in the name of the “real party in
interest.” Fed. R. Civ. P. 17(a)(1). Suda v. Weiler Corp., noted:
               Rule 17(a) was designed to serve dual purposes. First, it serves “to
       protect the defendant against a subsequent action by the party actually
       entitled to relief, and to ensure that the judgment will have a proper res
       judicata effect.” Intown Properties Mgmt., Inc. v. Wheaton Van Lines, Inc.,
       271 F.3d 164, 170 (4th Cir. 2001) (citation omitted). Second, it is designed
       to avoid the unjust forfeiture of claims. See Sun Refining & Mktg. Co. v.
       Goldstein Oil Co., 801 F.2d 343, 345 (8th Cir. 1986). “Although the
       district court retains some discretion to dismiss an action where there was
       no semblance of any reasonable basis for the naming of an incorrect party,
       there plainly should be no dismissal where substitution of the real party in
       interest is necessary to avoid injustice.” Advanced Magnetics, Inc. v.
       Bayfront Partners, Inc., 106 F.3d 11, 20 (2d Cir. 1997) (quotation and
       citations omitted).

250 F.R.D. 437, 440 (D.N.D. 2008). I cannot say, based on the record before me, that
NuStar is not a real party in interest. However, I also cannot rule out the possibility.
Anthony Nunes III’s lack of knowledge about who is paying the attorneys prosecuting
this action raises legitimate concern about not only who may be in charge of the lawsuit,
but also whether Plaintiffs are the still the real parties in interest. Defendants call the
Court’s attention to Conlon v. Rosa, which raised the concern of secret funding by stating,
“He who pays the piper may not always call the tune, but he’ll likely have an influence
on the playlist.” 2004 WL 1627337, at *2.




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       Again, I will refrain from speculating about the terms of any agreement between
Plaintiffs and a third-party who may be funding this litigation. Nevertheless, it is more
than mere speculation and far from a “fishing expedition” to make inquiries that would
determine if Plaintiffs assigned all or some of their interest in their claims. Plaintiffs
claim compensatory damages of $20,000,000. (Doc. 51 at 1.) It is not unreasonable to
inquire whether Plaintiffs’ arrangement with whomever may be funding the case includes
an assignment or an agreement that the funder otherwise stands to benefit from the
litigation’s outcome. If Plaintiffs have made such an assignment, they may no longer be
the real parties in interest. Defendants have a legitimate interest in ensuring the judgment
will have a preclusive effect. See e.g., TCF Nat. Bank v. Mkt. Intel., Inc., Civil No. 11-
2717 (JRT/AJB), 2012 WL 3031220, at *10 (D. Minn. July 25, 2012) (allowing
discovery to proceed to identify real parties in interest).
       Similarly, Defendants raise a concern that “one of the witnesses” in this case may
be involved in funding the litigation.       (Doc. 148 at 9.) “Courts have found that
indemnification agreements between co-defendants, including agreements regarding the
payment of defense fees and costs, are relevant to credibility issues and a proper subject
of discovery.” Kaplan, 2015 WL 5730101, at *2. I gather from comments at the hearing
that Defendants’ concern is that Congressman Nunes may be a source of, or helped
arrange, the funding. While this concern has yet to be proven, the basis for it goes
beyond mere conjecture. Congressman Nunes and Mr. Biss have related litigation in this
Court arising from the same allegedly defamatory article at issue here. Congressman
Nunes alleges significant damages arising from the article, as do Plaintiffs. While these
family members may be separately financing their respective suits, it is not merely a
fishing expedition to inquire about the Congressman’s involvement in the financing of
the instant lawsuit and his stake, if any, in the outcome. It may be that he has no more
than a desire for his family to succeed in their lawsuit. However, he is also a witness in



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this case and Defendants are entitled to inquire about his interests in the lawsuit that may
illuminate a possible bias.
       Finally, the records are relevant to respond to a “David vs. Goliath” narrative.
Certainly, Plaintiffs’ Second Amended Complaint previews this narrative 3 and no one
who has spent any time trying cases would be surprised by such a theme. Contl. Cirs.
LLC v. Intel Corp. addressed discovery of litigation funding to permit a defense response
to the narrative:
       [The discovery requests] concern Plaintiff’s financial resources and could
       be used to refute any David vs. Goliath narrative at trial. Plaintiff claims
       that any such narrative is speculative, but Defendants are entitled to conduct
       discovery that may refute potential trial themes, and Defendants note that
       at least some evidence suggests that such a narrative will be asserted in this
       case.

435 F. Supp. 3d 1014, 1019 (D. Ariz. 2020).
       For the foregoing reasons, I overrule Plaintiffs’ relevance objection.
D.     Documents will be subject to in camera inspection.
       Defendants suggest I make an in camera inspection of the records Plaintiffs
produce in response to Request No. 92 to assure the items produced are properly
discoverable and relevant. (Doc. 148 at 10.) Plaintiffs resist the production, but make
no reference to the need for an in camera inspection in their resistance. (Doc. 153.) I



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  For example, Plaintiffs assert: “Plaintiffs are private individuals. They operate a private
business and live with family in the small community of Sibley, Iowa. They are active in the
local community in Sibley, and have always been involved in giving and fundraising for their
local church.” (Doc. 51 at 2 ¶ 1.) Plaintiffs describe Defendant Hearst as follows:
        Hearst’s headquarters and principal place of business is in New York. Hearst
        publishes Esquire magazine. Hearst is a unit of Hearst Corporation, a global
        media, information and services company. Hearst’s print and digital assets reach
        155 million readers and site visitors each month – two-thirds of all millennials,
        and over 80% of Gen Z and millennial women in the country.”
(Id. at 4 ¶ 7.)


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conclude it is prudent to review the records prior to requiring production to Defendants.
If, after my in camera review, no reason appears to reconsider my decision, I anticipate
entering a supplemental order requiring their production to Defendants consistent with
the protective order in place.
                                 III.   CONCLUSION
       Defendants’ Motion to Compel Responses to Third-Party Litigation Funding
Discovery Requests (Doc. 147) is granted. Plaintiffs shall deliver to my chambers by
email and/or hard copy by November 2, 2021 all records in their possession responsive
to Request No. 92 for an in camera inspection.
       IT IS SO ORDERED this 26th day of October, 2021.




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